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Name
?M@L/` footing/rd rer . C'-EF*K, U,S, oisrnicr
lVlailing address COURT
lillL/r/¢Umfr,»= l 14£- 995-w

 

City, State, Zip‘f 9
90?»:1>0@ * /@ 7 </

Telephone

lN THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF ALASKA

£//`@§ md Mf@j»ae/a RDlO/`r)so//) ,

(Entcr full name of`plaintiffin this action)

Case No. 77`1 is '( \/‘(D?_.\Q’TM §

 

 

 

Plainfiff, (To be suppiicd by Court)
vs.
147/as P_¢:L {‘Du rT 6 5/57@/71. , coMPLAlNT uNDER
_ . THE C|VlL RIGHTS ACT
611 prp/175 /’0;//7. , 42 u.s.c. § 1933
mo rl` of Al¢l@m ls , (NoN~PRisoNERs)
v (Entcr f`ull names of defendant(s) in this action
Do NOT use er al.)
Defenclant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(3)(3) and 42 U.S.C. § 1983. |f you
assertjurisdiction under any different or additional authorities, please list them below:

/Q¢)We.

B. Parties

1. P|aintit|‘: This complaint alleges that the civil rights of KH¢@` é;ZQ/Q Z§Q£?LE§QZZ

(print your name)

Who presently resides at ?&;Q C/ 501_1£0//¢/ !Q./)',Q fg“l’l£¢)a rggpz,, /61£. C}Q,_$"c)‘/

(méiling address)
Were violated by the actions ot the individua|(s) named belovv,
/ZWW /%WWW£”/"§‘/Mé, Oé/Fu'f¢/ C/¢”r”/£

194 r( ll lA€/ f:o/f/m»fll papa/y c/e/’!»'
6&/`& [1 H%@[`gf§gy', MSZ" Ma}/Mz?‘!/` - £OM//")”
,’07& riggs/q agag?oogahgms DGCJHMH li$ll\?é)e‘€/ 66/{6713 Page 1 or 7

)

<

2. Defendants (Make a copy of this page and provide same information if you are naming more than 3

 

 

defendants):
Wast wm S‘!S/`@"” . _.
Defendant No.1,_5_gMe, /1/11¢~‘. coqu of /HJD~¢@/ 9 is a citizen of
(name)
, and ls employed as a l.')eF'LU'L/ C[e(`l¢$
(state) (defendant’ s government position/title)

)( This defendant personally participated in causing my injury, and | Want money
damages
OR
_LThe policy or custom of this ofhcia|’s government agency violates my rights, and l
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No 2 /‘/Z ](k¢/ /m? /%Mo»f’\ is a Citizen Of
(n me)
&L PiS E& ,and ls employed as a £Dui`\/ a /L{` /<
(state) ' (de(endant’s government position/title)

This defendant personally participated in causing my injury, and l Want money
amages.

S_<l The policy or custom of this officia|’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something)

 

 

Defendant No 3,@\;/[\-1\) lli/io-/\_‘i'°’imflm.&l <\#{MQ/ is a citizen of
(name)J
&Lo\§ \SP¢ and ls employed as a_D¢r)ulLi/ C/p_,~K
(state) r(de'fendant' s government position/title)

g This defendant personally participated in causing my injury, and | want money
damages
OR

X The policy or custom of this ofhcia|’ s government agency violates my rights, and l
seek injunctive relief (to stop or require someone do something).

C. Causes Of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary Make copies of page 5 and rename them pages 5A, SB, etc. and rename
the claims, “Claim 4," “Claim 5, etc.”).

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Claim ‘l: On or about 9~_' 9\0 / 3\0/<`< . my civil right to
_ (Date)
()18137 Di“oce,$§ j/M,q
(due process re

edom of religion, free speech, freedom of association and/or assembly, freedom from cruel and

unusual punishment etc List only one vi lation)
was violated by H[[ ijg/'g¢ C[¢zr[£ § Q /£;g g &£ 517de l

(Name of the specific Defendant who violated this right)

Su ortin Facts (Brief|y describe facts you consider important to Claim 1. State what
happened briefly and clear|y, in your own words Do not cite legal authority or argument
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

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SQZM {] / '1£// r //' I$

 

 

 

 

 

 

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_' ,. -_'. ` _ _. /I.
1 ' ' ' . §
4 .1m .1/ .. ss . ,1 m

 

 

 

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_C___laim 2: On or about GQFI £6" l g , my civil right to

1),.£2, fra 005§4{>1£1{€1 (Date)

(due processl freedom of religion free speech. freedom of association and/or assembly, freedom from cruel and
unusual punish nt, etc. List only one viola n.) /

was violated by 10 '-
(Name of the specific Def ndant wh violated this righ

Su ortin Facts (Briefly describe facts you consider important to Claim 2. State what

 

happened briefly and clearly, in your own words. Do not cite legal authority or argument
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

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v'

Claim 3: On or about O') ~ /7 ° /c{ , my civil right to

1oate)
Qg¢ g, 10 rd C.e€)f>

(due process. freedom of religion, free speech, freedom of association and/or assemb|y. freedom from cruel and
unusual punishment etc. List only one violation)

was violated by C//C(` K O T}\€ APD@°\\S Sc,LOf‘€,//l€_ {,`wm£oA/;c€/

(Name of the specific Defendant who violat'ed this right)

Supgorting Facts (Brief|y describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do riot cite legal authority or argument
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3 )

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D. Previous Lawsuits

/

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes gc No

2. lf your answer is “Yes," describe each |awsuit.
a. Lawsuit`1:
P|aintiff(s): _M OVIQ.,

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was Hled: Date of final decision:
Disposition: Dismissed Appealed Still pending

lssues Raised:

 

b. Lawsuit 2:
Plaintiff(s): /\J(*) M~Q,

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was t”1led: Date of final decision:
Disposition: Dismissed Appealed Sti|l pending

lssues Raised:

 

F. Request for Relief°§'i’|'\£/ Decr‘>$v‘f\ W\<>~Az, \9¢5 m Cle,r K'$ op`n\¢ F\PPellwl'€/M&
Dn_r.)yl~g> Mo+»`m§ Pw\,{)<m»za\\ "5 bufcl'vgaw/»Q/
PlaBntiff requests that this Court grant the fBl|owing relief: F}\>I/j,/¢a/ D om§zo€ %MW
‘*M"`WL (d°`m%es‘ p°(` b"°°`d`° Mclt/M\,L,- R.l'gA/':> U FJA}/M°s ¢

1. Damages in the amount of $_}' g ,¢ Q 0 le QQ
/~\~d 0.~»~»5 ww§ A*@( Sc‘f‘l{e{/A“}>

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Y J

,'

2. Punitive damages in the amount of $ (b )f)` 6 0 ;A 00

3. An order requiring defendant(s) to

 

4. A declaration that

5. Other:

 

Plaintiff demands a trial by jury. 5 ¥es No

DECLARAT|ON UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint~is true and--'correct.

 
 
 
 

on 99 ’//Q "//9

(Date)

Executed at

  

_ (Location)
msle v ;

(P|aintiff's Ofiglna| Signature)

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney's Address and Telephone Number

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